DOCUMENTS UNDER SEAL
                    Case 4:24-mj-70950-MAG Document 3 Filed 06/27/24 Page 120
                                                         TOTAL TIME (m ins):
                                                                             of minutes
                                                                                1
M AGISTRATE JUDGE                          DEPUTY CLERK                             /,%(57<5(&25'(5
M INUTE ORDER                              William F. Tabunut                      11:05am - 11:25am
MAGISTRATE JUDGE                           DATE                                     NEW CASE          CASE NUMBER
Donna M. Ryu                               6/27/2024                                                  4:24-mj-70950-MAG-1
                                                     APPEARANCES
DEFENDANT                                   AGE    CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Nicholas Bloom                                      Y        P       Samantha Jaffe, provisionally         APPT.
U.S. ATTORNEY                               INTERPRETER                           FIN. AFFT              COUNSEL APPT'D
Zachary Glimcher                                                                  SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR                PARTIAL PAYMENT
                            Jalei Kinder                             APPT'D COUNSEL                  OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
      1 minute                                            1 minute                                            TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING            IA REV PROB. or            OTHER
      1 minute                                                                     S/R
       DETENTION HRG              ID / REMOV HRG           CHANGE PLEA             PROB. REVOC.               ATTY APPT
    17 minutes                                                                                                HEARING
                                                       INITIAL APPEARANCE
        ADVISED                ADVISED                     NAME AS CHARGED            TRUE NAME:
        OF RIGHTS              OF CHARGES                  IS TRUE NAME
                                                         ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                           RELEASE
      RELEASED           ISSUED                        AMT OF SECURITY      SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND               $                                                 SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                DETAINED          RELEASED       DETENTION HEARING              REMANDED
      FOR              SERVICES                                                 AND FORMAL FINDINGS            TO CUSTODY
      DETENTION        REPORT                                                   W AIVED

ORDER REMOVED TO THE ',6TRICT OF
                                                             PLEA
   CONSENT                     NOT GUILTY                   GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                 CHANGE OF PLEA               PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                           FILED
                                                         CONTINUANCE
TO:                               ATTY APPT                 BOND                  STATUS RE:
7/3/2024                          HEARING                   HEARING               CONSENT                   TRIAL SET

AT:                               SUBMIT FINAN.             PRELIMINARY           CHANGE OF                 67$786
                                  AFFIDAVIT                 HEARING               PLEA
10:30am                                                     BBBBBBBBBBBBB
BEFORE HON.                       DETENTION                 $55$,*1MENT            MOTIONS                  JUDGMENT &
                                  HEARING                                                                   SENTENCING
Ryu
        TIME W AIVED              TIME EXCLUDABLE      67$7865(                 PRETRIAL                  PROB/SUP REV.
                                  UNDER 18 § USC       IDENTITY /                 CONFERENCE                HEARING
                                  3161             REMOVAL HEARING
                                               ADDITIONAL PROCEEDINGS
Motion to unseal case is granted. DPPA advised. Matter argued and submitted as to Government's motion for detention. Court
finds Defendant a danger to community and serious risk of flight, as stated on the record. Court to issue detention order.

                                                                                        DOCUMENT NUMBER:
